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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

 WILLIAM NOSTHEIDE,                                :
                                                   :
                Plaintiff,                         :     Case No. 1:24-cv-00344
                                                   :
        v.                                         :     Judge Matthew W. McFarland
                                                   :
 CLARIGENT CORPORATION, et al.,                    :
                                                   :
                Defendants.                        :
                                                   :

                             STIPULATED PROTECTIVE ORDER

       Pursuant to the parties’ joint request that the Court enter this Order, and their agreement

that the following limitations and restrictions should apply to documents and information produced

for inspection and copying during the course of this litigation (the “Action”), the Court hereby

ORDERS that:

       1.      Scope. This Protective Order (hereinafter “Protective Order” or “Order”) shall

apply to all documents or other information produced in this Action that the producing person or

entity (the “Producing Entity”) has designated as “CONFIDENTIAL – SUBJECT TO

PROTECTIVE ORDER” or “ATTORNEYS’ EYES ONLY – SUBJECT TO PROTECTIVE

ORDER” (either a “Confidentiality Designation” or collectively the “Confidentiality

Designations”) pursuant to this Order, including but not limited to, all initial disclosures, all

responses to discovery requests, all deposition testimony and exhibits, and all materials (including

documents or testimony) produced by non-parties in response to subpoenas issued in connection

with this matter, including all copies, excerpts, and summaries thereof (collectively the

“Confidential Information”).
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       2.      Purpose. The purpose of this Protective Order is to protect against the unnecessary

disclosure of Confidential Information.

       3.      Disclosure Defined. As used herein, “disclosure” or “to disclose” means to

divulge, reveal, describe, summarize, paraphrase, quote, transmit, or otherwise communicate

Confidential Information, and the restrictions contained herein regarding disclosure of

Confidential Information also apply with equal force to any copies, excerpts, analyses, or

summaries of such materials or the information contained therein, as well as to any pleadings,

briefs, exhibits, transcripts or other documents which may be prepared in connection with this

litigation which contain or refer to the Confidential Information or information contained therein.

       4.      Designating Material

               a.     Designating Material As Confidential: Any party, or any third party

       subpoenaed by one of the parties, may designate as Confidential and subject to this

       Protective Order any documents, testimony, written responses, or other materials produced

       in this case if they contain information that the Producing Entity asserts in good faith is

       protected from disclosure by statute or common law, including, but not limited to,

       confidential personal information, medical or psychiatric information, trade secrets,

       personnel records, or proprietary information, financial information, investor information,

       accounting information, banking information, credit information, that is not publicly

       available. Information that is publicly available may not be designated as Confidential. The

       designation of materials as Confidential pursuant to the terms of this Protective Order does

       not mean that the document or other material has any status or protection by statute or

       otherwise except to the extent and for the purposes of this Order.




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           b.      Designating Material As Attorneys’ Eyes Only. Any party, or any third

    party subpoenaed by one of the parties, may designate as Attorneys’ Eyes Only and subject

    to this Protective Order any materials or information that meet the test set forth in

    Paragraph 4.a, but as to which the Producing Entity also asserts in good faith that the

    information is so competitively sensitive that the receipt of the information by parties to

    the litigation could result in competitive harm to the Producing Entity.

    5.     Form and Timing Of Designation.

           a.      Documents And Written Materials. The Producing Entity shall designate

    any document or other written materials as confidential pursuant to this Order by marking

    each page of the material with a stamp setting forth the Confidentiality Designation, if

    practical to do so. The person or entity designating the material shall place the stamp, to

    the extent possible, in such a manner that it will not interfere with the legibility of the

    document. Materials shall be so designated prior to, or at the time of, their production or

    disclosure.

           b.      Electronically Stored Information (“ESI”): If a production response

    includes ESI, the Producing Entity shall make an effort to include within the electronic

    files themselves the Confidentiality Designation to the extent practicable. If that is not

    practicable, then the Producing Entity shall designate in a transmittal letter or email to the

    party to whom the materials are produced (the “Receiving Party”) using a reasonable

    identifier (e.g., the Bates range) any portions of the ESI that should be treated as

    “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER,” and any portions of the ESI

    that should be treated as “ATTORNEYS’ EYES ONLY – SUBJECT TO PROTECTIVE

    ORDER.”




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           c.      Deposition Testimony. Deposition testimony will be deemed confidential

    only if designated as such when the deposition is taken or within 30 days after receipt of

    the deposition transcript. Such designation must indicate which Confidentiality

    Designation applies, and must be specific as to the portions of the transcript and/or any

    exhibits to which that Confidentiality Designation applies, except that any exhibit that was

    marked with a Confidentiality Designation at the time of production, and which still bears

    that mark at the time of its use in a deposition, shall be presumed to fall within the

    provisions of this Order without further designation.

    6.     Limitation Of Use.

           a.      General Protections. All information that has received a Confidentiality

    Designation, including all information derived therefrom, shall be used by any Receiving

    Party solely for purposes of prosecuting or defending this Action. A Receiving Party shall

    not use or disclose the Confidential Information for any other purpose, including but not

    limited to any business, commercial, or competitive purpose. Except as set forth in this

    Order, a Receiving Party shall not disclose Confidential Information to any third party.

    This Order shall not prevent the Producing Entity from using or disclosing information it

    has designated as Confidential Information, and that belongs to the Producing Entity, for

    any purpose that the Producing Entity deems appropriate, except that the Producing

    Entity’s voluntary disclosure of Confidential Information outside the scope of this Action

    may impact the protection that this Order would otherwise provide with regard to such

    information, once disclosed.

           b.      Persons To Whom Information Marked “Confidential” May Be

    Disclosed. Use of any information, documents, or portions of documents marked




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    “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER,” including all information

    derived therefrom, shall be restricted solely to the following persons who agree to be bound

    by the terms of this Protective Order, unless additional persons are stipulated by counsel

    or authorized by the Court:

              i.   outside counsel of record for the parties, and the administrative staff of
                   outside counsel's firms;

             ii.   in-house counsel for the parties, and the administrative staff for each in-
                   house counsel;

            iii.   any party to this action who is an individual;

            iv.    as to any party to this action who is not an individual, every employee,
                   director, officer, or manager of that party, but only to the extent necessary
                   to further the interest of the parties in this litigation;

             v.    independent consultants or expert witnesses (including partners, associates
                   and employees of the firm which employs such consultant or expert)
                   retained by a party or its attorneys for purposes of this litigation, but only to
                   the extent necessary to further the interest of the parties in this litigation,
                   and only after such persons have completed the certification attached hereto
                   as Attachment A, Acknowledgment of Understanding and Agreement to be
                   Bound;

            vi.    the Court and its personnel, including, but not limited to, stenographic
                   reporters regularly employed by the Court and stenographic reporters not
                   regularly employed by the Court who are engaged by the Court or the parties
                   during the litigation of this action;

            vii.   the authors and the original recipients of the documents;

           viii.   any court reporter or videographer reporting a deposition;

            ix.    employees of copy services, microfilming or database services, trial support
                   firms, and/or translators who are engaged by the parties during the litigation
                   of this action;

             x.    interviewees, potential witnesses, deponents, hearing or trial witnesses, and
                   any other person, where counsel for a party to this action in good faith
                   determines the individual should be provided access to such information in
                   order for counsel to more effectively prosecute or defend this action (as long
                   as the disclosure occurs in the presence of counsel, and copies, duplicates,



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                         images, or the like are not removed or retained by any interviewee, potential
                         witness, deponent, or hearing or trial witness), provided, however, that in
                         all such cases the individual to whom disclosure is to be made has been
                         informed that the information contained in the disclosed document(s) is
                         confidential and protected by Court Order, that the individual understands
                         that he/she is prohibited from disclosing any information contained in the
                         document(s) to anyone; or

                xi.      any other person agreed to in writing by the parties.

Prior to being shown any documents produced by another party marked “CONFIDENTIAL –

SUBJECT TO PROTECTIVE ORDER,” any person listed under paragraph 6(b)(iii), 6(b)(iv), or

6(b)(xi) shall be advised that the confidential information is being disclosed pursuant to and subject

to the terms of this Protective Order.

               c.        Persons To Whom Information Marked “Attorneys’ Eyes Only” May

       Be Disclosed. Use of any information, documents, or portions of documents marked

       “ATTORNEYS’ EYES ONLY – SUBJECT TO PROTECTIVE ORDER,” including all

       information derived therefrom, shall be restricted solely to the following persons who agree

       to be bound by the terms of this Protective Order, unless additional persons are stipulated

       by counsel or authorized by the Court:

                    i.   outside counsel of record for the parties, and the administrative staff of
                         outside counsel's firms;

                 ii.     one designated representative from in-house counsel for the parties;

                iii.     independent consultants or expert witnesses (including partners, associates
                         and employees of the firm which employs such consultant or expert)
                         retained by a party or its attorneys for purposes of this litigation, but only to
                         the extent necessary to further the interest of the parties in this litigation,
                         and only after such persons have completed the certification attached hereto
                         as Attachment A, Acknowledgment of Understanding and Agreement to be
                         Bound;

                iv.      the Court and its personnel, including, but not limited to, stenographic
                         reporters regularly employed by the Court and stenographic reporters not
                         regularly employed by the Court who are engaged by the Court or the parties



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                       during the litigation of this action;

                 v.    the authors and the original recipients of the documents;

                vi.    any court reporter or videographer reporting a deposition;

               vii.    employees of copy services, microfilming or database services, trial support
                       firms, and/or translators who are engaged by the parties during the litigation
                       of this action;

               viii.   any other person agreed to in writing by the parties.

Prior to being shown any documents produced by another party marked “ATTORNEYS’ EYES

ONLY – SUBJECT TO PROTECTIVE ORDER,” any person listed under this paragraph 6(c)

shall be advised that the confidential information is being disclosed pursuant to and subject to the

terms of this Protective Order.

       Notwithstanding the foregoing, counsel of record for the parties may, on an as-needed

basis, discuss the contents of documents or information designated as “ATTORNEYS’ EYES

ONLY – SUBJECT TO PROTECTIVE ORDER” with the party they represent, solely for the

purpose of obtaining necessary input to formulate legal strategy or to provide advice, as

contemplated by Paragraph 9 below, provided that: (a) such discussions are limited to general

descriptions or summaries of the AEO information that do not reveal specific AEO-designated

details; (b) the disclosing counsel reasonably believes that such consultation is essential for

effective representation; and (c) no actual documents, direct quotations, or substantial portions of

the AEO information are disclosed or provided to the party.

       7.      Inadvertent Production. Inadvertent production of any document or information

with a Confidentiality Designation shall be governed by Fed. R. Evid. 502. Pursuant to subsections

(d) and (e) of that Rule, the parties agree to, and the Court orders, protection of Protected

Information against claims of waiver (including as against third parties and in other Federal and




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State proceedings) in the event such information is produced during the course of the Litigation,

whether pursuant to a Court order, a parties’ discovery request, or informal production, as follows:

               a.      the production of documents or electronically stored information (“ESI”)

       (including, without limitation, metadata) subject to a legally recognized claim of privilege

       or other protection from production or other disclosure (collectively, “Protected

       Information”), including without limitation the attorney-client privilege and work-product

       doctrine, shall in no way constitute the voluntary disclosure of such Protected Information;

               b.      the production of Protected Information shall not result in the waiver of any

       privilege or protection associated with such Protected Information as to the receiving party,

       or any third parties, and shall not result in any waiver of protection, including subject matter

       waiver, of any kind;

               c.      if any document or ESI (including, without limitation, metadata) received

       by a party is on its face clearly subject to a legally recognizable privilege, immunity, or

       other right not to produce such information, the Receiving Party will promptly notify the

       Producing Entity in writing that it has discovered Protected Information, identify the

       Protected Information by Bates Number range, and return or sequester such Protected

       Information until the Producing Entity confirms whether it does indeed assert any privilege

       protecting this information. Once the Producing Entity asserts privilege over such

       Protected Information (as described in Subparagraph (e) below), the Receiving Party will

       return, sequester, or destroy all copies of such Protected Information, along with any notes,

       abstracts or compilations of the content thereof, within ten (10) business days of notice

       from the Producing Entity;




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           d.      upon the request of the Producing Entity, the Receiving Party will promptly

    disclose the names of any individuals who have read or have had access to the Protected

    Information;

           e.      if the Producing Entity intends to assert a claim of privilege or other

    protection over Protected Information identified by the receiving party, the Producing

    Entity will, within ten (10) business days of receiving the Receiving Party’s written

    notification, inform the Receiving Party of such intention in writing and shall provide the

    Receiving Party with a log for such Protected Information that is consistent with the

    requirements of the Federal Rules of Civil Procedure, setting forth the basis for the claim

    of privilege, immunity or basis for non-disclosure, and in the event, if any portion of the

    Protected Information does not contain privileged or protected information, the Producing

    Entity shall also provide to the Receiving Party a redacted copy of the Protected

    Information that omits the information that the Producing Entity believes is subject to a

    claim of privilege, immunity or other protection;

            f.     if, during the course of the litigation, a party determines it has produced

    Protected Information, the Producing Entity may notify the Receiving Party of such

    production in writing. The Producing Entity’s written notice must identify the Protected

    Information by Bates Number range, the privilege or protection claimed, and the basis for

    the assertion of the privilege and shall provide the receiving party with a log for such

    Protected Information that is consistent with the requirements of the Federal Rules of Civil

    Procedure, setting forth the basis for the claim of privilege, immunity or basis for non-

    disclosure, and in the event any portion of the Protected Information does not contain

    privileged or protected information, the Producing Entity shall also provide to the receiving




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    party a redacted copy of the Protected Information that omits the information that the

    Producing Entity believes is subject to a claim of privilege, immunity or other protection.

    The Producing Entity must also demand the return of the Protected Information. After

    receiving such written notification, the Receiving Party must, within ten (10) business days

    of receiving the written notification, return, sequester, or destroy the specified Protected

    Information and any copies, along with any notes, abstracts or compilations of the content

    thereof;

           g.      a Receiving Party’s return, sequestration, or destruction of such Protected

    Information as provided in the Subparagraphs above will not act as a waiver of the

    Receiving Party’s right to move for the production of the returned, sequestered, or

    destroyed Protected Information on grounds that the Protected Information is not in fact

    subject to a viable claim of privilege or other protection. However, the Receiving Party is

    prohibited and estopped from arguing that the Producing Entity’s production of the

    Protected Information in this matter acts as a waiver of applicable privileges or protections,

    that the disclosure of the Protected Information by the Producing Entity was not

    inadvertent, that the Producing Entity did not take reasonable steps to prevent the

    disclosure of the Protected Information, or that the Producing Entity did not take reasonable

    steps to rectify such disclosure; and

           h.      nothing contained herein is intended to or shall limit a Producing Entity’s

    right to conduct a review of documents or ESI (including, without limitation, metadata),

    for relevance, responsiveness, and/or the segregation of privileged and/or protected

    information before such information is produced to the Receiving Party;




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               i.      prior to production to another party, all copies, electronic images,

       duplicates, extracts, summaries, or descriptions (collectively “copies”) of documents

       marked with a Confidentiality Designation under this Order, or in any individual portion

       of such a document, shall be affixed with the same Confidentiality Designation if it does

       not already appear on the copy. All such copies shall thereafter be entitled to the protection

       of this Order. The term “copies” shall not include indices, electronic databases, or lists of

       documents provided these indices, electronic databases, or lists do not contain substantial

       portions or images of the text of confidential documents or otherwise disclose the substance

       of the confidential information contained in those documents.


       8.      Filing Materials Containing Information With A Confidentiality Designation.

In the event a party seeks to file with the Court any confidential information subject to protection

under this Order, that party must take appropriate action to ensure that the document receives

proper protection from public disclosure, including: (a) filing a redacted document with the

consent of the party who designated the document as confidential; (b) where appropriate (e.g., in

relation to discovery and evidentiary motions), submitting the document solely for in camera

review; or (c) when the preceding measures are inadequate, seeking permission to file the

document under seal by filing a motion for leave to file under seal.

       Any motion to file a document subject to this Order under seal must meet the Sixth Circuit’s

standard set forth in Shane Group, Inc. v. Blue Cross Blue Shield of Michigan, 825 F.3d 299 (6th

Cir. 2016). The burden of demonstrating the need for and appropriateness of a sealing order is

borne by the moving party, and requires the moving party to analyze in detail, document by

document, the propriety of secrecy, providing reasons and legal citations. Regardless of whether

the parties agree, it remains the Court’s independent obligation to determine whether a seal is



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appropriate for any given document or portion thereof. Any proposed sealing, even when

compelling reasons exist, must be narrowly tailored to serve the compelling reasons.

        When a party to this Order seeks to file documents which have been marked Confidential

or AEO and the party believes the document may not warrant sealing, but is not the party who may

be prejudiced by the document or documents becoming part of the public record, the filing party

shall provide the potentially-prejudiced party or parties, or any potentially-prejudiced third party

or parties, with written notification of its intent to file such documents at least (14) fourteen days

before doing so. After being provided such notice, the potentially harmed party or parties will then

have (7) seven days to file with the Court a motion for sealing. The Court will rule on the motion

as promptly as possible.

        9.       Attorneys Allowed To Provide Advice. Nothing in this Order shall bar or

otherwise restrict any attorney for any party from rendering advice to his or her client with respect

to this case or from doing anything necessary to prosecute or defend this case and furthering the

interests of his or her client, except for the disclosure of the Confidential Information as proscribed

in this Order.

        10.      Excluding Others From Access. Whenever information bearing a Confidentiality

Designation pursuant to this Protective Order is to be discussed at a deposition, the person or entity

that designated the information may exclude from the room any person, other than persons

designated in Paragraph 6 of this Order, as appropriate; for that portion of the deposition; provided,

however, that any Party or witness designated under Rule 30(b)(6) may at all times remain in the

room.

        11.      No Voluntary Disclosure To Other Entities. The parties or anyone acting on their

behalf may not voluntarily disclose any Confidential Information to any state or federal law




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enforcement or regulatory agency, or any employee thereof, except in this litigation as set forth in

Paragraph 6 of this Order or as otherwise commanded by law or provided in this Order. Nothing

in this Order shall prevent a party from providing information in its possession in response to a

valid order or subpoena from a law enforcement or regulatory agency requiring the production of

such information, except that, prior to such production, the party producing the information shall

provide as much advance notice as possible to the person or entity that designated the material as

confidential to facilitate that party’s efforts to preserve the confidentiality of the material, if

warranted.

       12.     Disputes As To Designations. Each party has the right to dispute the

Confidentiality Designation asserted by any other party or subpoenaed person or entity in

accordance with this Protective Order. If a party believes that any documents or materials have

been inappropriately designated by another party or subpoenaed party, that party shall confer with

counsel for the person or entity that designated the documents or materials. As part of that

conferral, the designating person or entity must assess whether redaction is a viable alternative to

complete non-disclosure. If any party challenges the Confidentiality Designation of any document

or information, the burden to properly maintain the designation shall, at all times, remain with the

person or entity that made the designation to show that said document or information should

remain protected pursuant to Federal Civil Rule 26(c). In the event of disagreement, then the

designating person or entity shall file a motion pursuant to Federal Civil Rule 26(c). A party who

disagrees with the designation must nevertheless abide by that designation until the matter is

resolved by agreement of the parties or by order of the Court.

       13.     Information Security Protections. Any person in possession of Confidential

Information received from another person or entity in connection with this Action shall maintain




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an information security program that includes reasonable administrative, technical, and physical

safeguards designed to protect the security and confidentiality of such Confidential Information,

protect against any reasonably anticipated threats or hazards to the security of such Confidential

Information, and protect against unauthorized access to or use of such Confidential Information.

       If a Receiving Party discovers a breach of security, including any actual or suspected

unauthorized access, to Confidential Information subject to this Order, they shall: (1) notify the

person or entity who designated the materials under the terms of this Order of such breach;

(2) investigate and take reasonable efforts to remediate the effects of the breach; and (3) provide

sufficient information about the breach that the Producing Entity can reasonably ascertain the size

and scope of the breach. The Receiving Party agrees to cooperate with the Producing Entity or law

enforcement in investigating any such security incident. In any event, the Receiving Party shall

promptly take all necessary and appropriate corrective action to terminate the unauthorized access.

       14.     All Trials Open To Public. All trials, and certain pretrial proceedings and

hearings, are open to the public (collectively a “Public Hearing” or “Public Hearings”). Absent

further order of the Court, there will be no restrictions on any party’s ability to use, during a Public

Hearing, any document or information that has been marked with a Confidentiality Designation or

documents or information derived therefrom that would disclose such confidential information.

However, if a party intends to present at a Public Hearing any document or information that has

been so designated, the party intending to present such document or information shall provide

advance notice to the person or entity that made the Confidentiality Designation at least five (5)

days before the Public Hearing, if practicable, by identifying the documents or information at issue

as specifically as possible (i.e., by Bates Number, page range, deposition transcript line, etc.)

without divulging the actual documents or information. The person or entity that made the




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Confidentiality Designation may seek appropriate relief from the Court regarding restrictions on

the use of such documents or information at trial or the sealing of the courtroom, if appropriate.

       15.     No Waiver Of Right To Object. This Order does not limit the right of any party

to object to the scope of discovery in the above-captioned action.

       16.     No Determination Of Admissibility. This Order does not constitute a

determination of the admissibility or evidentiary foundation for the documents or a waiver of any

party’s objections thereto.

       17.     No Admissions. Designation by either party of information or documents under the

terms of this Order, or failure to so designate, will not constitute an admission that information or

documents are or are not confidential or trade secrets. Neither party may introduce into evidence

in any proceeding between the parties, other than a motion to determine whether the Protective

Order covers the information or documents in dispute, the fact that the other party designated or

failed to designate information or documents under this Order.

       18.     No Prior Judicial Determination. This Order is based on the representations and

agreements of the parties and is entered for the purpose of facilitating discovery in this action.

Nothing in this Order shall be construed or presented as a judicial determination that any

documents or information as to which counsel or the parties made a Confidentiality Designation

is in fact subject to protection under Rule 26(c) of the Federal Rules of Civil Procedure or

otherwise until such time as the Court may rule on a specific document or issue.

       19.     Order Subject To Modification. This Order shall be subject to modification by

the Court on its own motion or on motion of a party or any other person with standing concerning

the subject matter.




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       20.     Parties May Consent To Disclosure. Nothing shall prevent disclosure beyond the

terms of this Order if all parties consent to such disclosure, or if the Court, after notice to all

affected parties, permits such disclosure. Specifically, if and to the extent any party wishes to

disclose any Confidential Information beyond the terms of this Order, that party shall provide all

other parties with reasonable notice in writing of its request to so disclose the materials. If the

parties cannot resolve their disagreement with respect to the disclosure of any Confidential

Information, then a party may petition the Court for a determination of these issues. In addition,

any interested member of the public may also challenge the designation of any material as

confidential, pursuant to the terms of this paragraph.

       21.     Return Of Materials Upon Termination Of Litigation. Upon the written request

and expense of the Producing Entity, within 30 days after the entry of a final judgment no longer

subject to appeal on the merits of this case, or the execution of any agreement between the parties

to resolve amicably and settle this case, the parties and any person authorized by this Protective

Order to receive confidential information shall return to the Producing Entity, or destroy, all

information and documents subject to this Protective Order, unless the specific document or

information has been offered into evidence or filed without restriction as to disclosure. However,

nothing in this Protective Order shall require the return, destruction, or deletion of (a) attorney

work product, including internal memoranda, summaries, or analyses that reference or reflect

Confidential Information, provided such work product does not include copies of the actual

documents, direct quotations, or substantial portions of the Confidential Information, (b)

documents or information required by law to be retained by a party or its counsel, provided such

documents or information shall continue to be subject to the terms of this Order, or (c) documents

or information necessary to be retained for insurance purposes, including but not limited to, for




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claims handling, reporting, or risk management, provided such documents and information shall

continue to be subject to the terms of this Order. The party returning or destroying the documents

or other information shall certify that it has not maintained any copies of confidential information,

except as permitted by this Order.

         22.   Counsel Allowed To Retain Copy Of Filings. Nothing in this Protective Order

shall prevent outside counsel for a party from maintaining in its files a copy of any filings in the

Action, including any such filings that incorporate or attach Confidential Information. Moreover,

an attorney may use his or her work product in subsequent litigation provided that such use does

not disclose any Confidential Information.


         SO ORDERED.


Dated:
                                                      U.S. District Judge Matthew W. McFarland

AGREED TO:

 /s/ Chris Wido (by email consent)                    /s/ Todd M. Seaman
 Chris Wido (0090441)                                 Todd M. Seaman (0090839)
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                                                      CLARIGENT CORPORATION AND
                                                      DONALD WRIGHT, JR.


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                                          /s/ Theresa L. Nelson (by email consent)
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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

 WILLIAM NOSTHEIDE,                                :
                                                   :
                Plaintiff,                         :      Case No. 1:24-cv-00344
                                                   :
        v.                                         :      Judge Matthew W. McFarland
                                                   :
 CLARIGENT CORPORATION, et al.,                    :
                                                   :
                Defendants.                        :
                                                   :

                                FORM PROTECTIVE ORDER
                                    ATTACHMENT A

       The undersigned hereby acknowledges that he/she has read the Protective Order in the

above-captioned action and attached hereto, understands the terms thereof, and agrees to be bound

by its terms. The undersigned submits to the jurisdiction of the United States District Court for the

Southern District of Ohio in matters relating to the Protective Order and understands that the terms

of the Protective Order obligate him/her to use documents designated “CONFIDENTIAL –

SUBJECT TO PROTECTIVE ORDER” or “ATTORNEYS’ EYE ONLY – SUBJECT TO

PROTECTIVE ORDER” in accordance with the Order, solely for the purpose of the above-

captioned action, and not to disclose any such documents or information derived directly therefrom

to any other person, firm, or concern.
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        The undersigned acknowledges that violation of the Protective Order may result in

penalties for contempt of court.

Name:

Job Title:

Employer:

Business Address:




Date:
                                         Signature




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